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                                                           James Douglas Butcher
                                                            Liquidation Chart   (Amended)
Claim Secured Claims                    Secured*        Priority       Unsecured          Description
    2 Galveston County                      $1,163.64                                    property taxes
    3 Harris County                           1,520.99                                   property taxes
    4 Harris County                          20, 287.68                                  property taxes
                                                                                         real estate-paid by   Paid by Leonida - Lender
    9 Capital Bank                           689,503.70                                  spouse                asserts fully secured
                                                                                         real estate-paid by   Paid by Leonida - Lender
   10 Capital Bank                           174,025.82                                  spouse                asserts fully secured
                                                                                         real estate-paid by   Paid by Leonida - Lender
   11 Capital Bank                           149,660.20                                  spouse                asserts fully secured
                                                                                         real estate-paid by   Paid by Leonida - Lender
   12 Capital Bank                           289,597.44                                  spouse                asserts fully secured
   13 Ford Motor Credit                       22,174.89                                  vehicle
   15 JP Morgan Chase Bank                   321,944.92                                  homestead
   16 Stellar Bank                           659,373.37                                  real estate
   19 Young/M. Franklin                                                      $315,948.77 judgment              To be paid as unsecured
   20 Frost Bank                                                           $2,652,479.79 judgment              To be paid as unsecured
   21 Clear Creek ISD                         28,404.97                                  property taxes
   22 Pasadena ISD                            24,412.19                                  property taxes
   23 Clear Lake City Water                    6,601.92                                  real estate
   24 City of Houston                            704.15                                  property taxes
   25 Young/M. Franklin                                                                  Duplicate of 19
   26 City of Seabrook                        $1,803.59                                  ad valorem taxes
   27 City of Pasadena                        $6,906.35                                  ad valorem taxes
   28 City of Webster                         $4,675.16                                  ad valorem taxes

      *Most of the secured claims
      are secured by solely managed
      community property which is
      not part of the Debtor's estate
       Scheduled Secured Claims -
      No proof of claim
      Mercedes-Benz Financial                 55,000.00                                    vehicle
      Mercedes-Benz Financial                 55,000.00                                    vehicle

      Total Secured                         2,492,473.30

      Filed Unsecured Claims
    1 Shell Federal CU                                                          7,215.92 money loaned
    5 IRS                               $           -      $       -                0.00
    6 Capital One, N.A.                                                         4,353.93 credit card
    7 Capital One, N.A.                                                         2,994.93 credit card
    8 Wells Fargo Bank, N.A.                                                    4,327.00 revolving credit
   14 Synchrony Bank/Sam's Club                                                 1,137.64 m. loan/rev. credit
   17 Stellar Bank                                                            138,270.36 guaranty
   18 Stellar Bank                                                            729,137.83 guaranty

      Scheduled Unsecured
      Claims- No claims filed
      Credit One Bank                                                          unknown
      Synchrony Bank/Lowes                                                          $350 credit card
      TXU/Texas Energy                                                 $          614.84 utilities

      Total Unsecured Claims                                           $    3,856,831.01

      Total Claims                      $6,349,304.31

      Total value of assets in
      liquidation
      Cash                                      $600.00
      Shell Federal CU x316-50                $4,280.99
      Shell Federal CU x316-00                   $48.28
      Shell Federal CUx8379             $        300.00
      SMMS, LLC                         $         33.34

      Total liquidation value
      estimated                         $      5,262.61

      No value remaining in
      liquidation for unsecured
      creditors                         $           -
